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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF VIRGINIA
                                ROANOKE DIVISION

 JOHN DOE,                                        )
                                                  )
      Plaintiff,                                  ) Case No. 7:23-cv-209
                                                  )
 v.                                               ) By: Michael F. Urbanski
                                                  ) Chief United States District Judge
 KARL KUHN,                                       )
                                                  )
      Defendant.                                  )

                                             ORDER

        This matter is before the court on defendant Karl Kuhn’s motion for in camera review

and permission to produce an Employment Separation Agreement between Radford

University and defendant Karl Kuhn. Mot., ECF No. 13. Defendant’s motion for in camera

review is well taken and is GRANTED.

        The court has reviewed in camera the Employment Separation Agreement provided by

defendant and notes that it contains a mutual confidentiality provision. Defendant asserts that

he believes that this provision precludes him from producing the document in this litigation.

Id. at ¶ 4.

        Should the Employment Separation Agreement be requested in discovery in this case

by plaintiff, defendant is ORDERED to produce the document to plaintiff subject to the

following Protective Order provisions:

        1.         The Employment Separation Agreement may be used by plaintiff or plaintiff’s

                   counsel for the purposes of this case only and may not be used for any other

                   purpose.



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    2.    The Employment Separation Agreement may not be disclosed to any third

          party.

    3.    If it is necessary to file the Employment Separation Agreement with any

          pleading in this case, the parties must take care to file it UNDER SEAL.

    4.    Following conclusion of the lawsuit, plaintiff and plaintiff’s counsel must

          destroy all copies of the Employment Separation Agreement or return them to

          counsel for defendant.

    It is SO ORDERED.

                                                    Entered: July 6, 2023
                                                                     Digitally signed by
                                                                     Michael F. Urbanski
                                                                     Chief U.S. District Judge
                                                                     Date: 2023.07.06 15:42:37
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                                                    Michael F. Urbanski
                                                    Chief United States District Judge




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